     Case: 1:20-cv-06130 Document #: 52 Filed: 03/22/23 Page 1 of 17 PageID #:733

                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

ISIDRO CALONIA, JR., individually and on
behalf of all others similarly situated,

                 Plaintiff,
                                           Case No. 2020-cv-6130
v.
                                           Honorable Thomas M. Durkin

TRINITY PROPERTY CONSULTANTS,
LLC and PACIFIC PERSONNEL
SERVICES, INC.,

                 Defendants.

      PLAINTIFF’S COMBINED MOTION AND MEMORANDUM OF LAW
IN SUPPORT OF PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT



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     Case: 1:20-cv-06130 Document #: 52 Filed: 03/22/23 Page 2 of 17 PageID #:734




I.       Introduction

         Plaintiff Isidro Calonia, Jr. filed this putative class action against Defendants Trinity

Property Consultants, LLC (“Trinity”) and Pacific Personnel Services, Inc. (“Pacific”) for

unlawfully collecting, using, storing, and his biometric data (i.e. fingerprints) in violation of the

Illinois Biometric Information Privacy Act (“BIPA”), 740 ILCS 14/1 et seq.

         This case was originally filed against Trinity, and Trinity argued that it was not responsible

for the alleged violations—that the biometric timeclocks were owned and operated by its

management company, Pacific. Dkt. No. In response, Plaintiff sought leave to amend the

complaint to add Pacific, which was granted. Dkt. Nos. 17-19. Thereafter, Defendants filed a

Motion to Dismiss, arguing that they notified employees of a biometric policy through an online

training program. Dkt. Nos. 20-21. Plaintiff disputed Defendants’ arguments with his own

declaration that he did not view the biometric policy and that it did not comply with BIPA. Dkt.

No. 24. Defendant’s Motion to Dismiss was denied based upon an issue of fact. Dkt. No. 38.

         After the court issued its memorandum and opinion, the Parties exchanged written

discovery. With the benefit of initial discovery, and further review of the alleged facts and issues,

the Parties engaged in arms-length discussions and reached an agreement on key terms. The Parties

reached a non-reversionary $154,480 class settlement for the 172 Settlement Class Members.

This is a strong result for the Class as a whole and is structured to maximize the number of

individuals who will receive a settlement payment: each Class Member will automatically be sent

a payment unless they opt out. The settlement is fair, reasonable, adequate, and meets all

requirements under Rule 23. The Court should grant preliminary approval and enter the proposed

order.




                                                   1
      Case: 1:20-cv-06130 Document #: 52 Filed: 03/22/23 Page 3 of 17 PageID #:735




II.      Procedural History

         On June 12, 2020, Plaintiff filed a Class Action Complaint in the Circuit Court of DuPage

County, Chancery Division, alleging that Defendants violated BIPA by requiring him and other

employees to use a biometric timekeeping system as part of their jobs. (Dkt. No. 1-1). In particular,

Plaintiff alleged that Defendants violated BIPA by failing to do four things:

            1) Properly inform Plaintiff and Class Members in writing that their biometric
               information and/or identifiers were being collected;

            2) Properly inform Plaintiff and Class members in writing of the specific purpose and
               length of time for which their biometric identifiers (in the form of their fingerprints
               and/or handprints) or biometric information was being collected, stored, and used, as
               required by BIPA;

            3) Provide a publicly available retention schedule and guidelines for permanently
               destroying Plaintiff’s and the Class’s biometric identifiers (in the form of their
               fingerprints and/or handprints) or biometric information, as required by BIPA; nor

            4) Receive a written release from Plaintiff or the members of the Class to collect,
               capture, or otherwise obtain their biometric identifiers (in the form of their
               fingerprints and/or handprints) or biometric information, as required by BIPA.

         On January 8, 2021, Trinity removed the Litigation from state court to the United States

District Court for the Northern District of Illinois. Dkt. No. 1. On December 7, 2020, Trinity filed

a Motion to Dismiss Plaintiff’s Class Action Complaint. Dkt. No. 11. On January 20, 2021,

Plaintiff filed a Motion to Amend the Complaint to add Pacific as a defendant. Dkt. No. 17. The

Motion to Amend was granted and, on January 22, 2022, Plaintiff filed an Amended Complaint

against Defendants Trinity and Pacific. Dkt. No. 19.

         On February 11, 2021, Defendants filed a Motion to Dismiss the Amended Complaint,

which was fully briefed. Dkt. Nos. 20-24. On January 6, 2022, pursuant to the Parties’ joint request,

this Court granted a stay of this case pending the Illinois Supreme Court decision in McDonald v.

Symphony Bronzeville Park LLC, No. 126511. Dkt. No. 30. On February 3, 2022, the Supreme

Court released an opinion in McDonald affirming the judgment of the Appellate Court that the


                                                  2
       Case: 1:20-cv-06130 Document #: 52 Filed: 03/22/23 Page 4 of 17 PageID #:736




Illinois Workers Compensation Act (“WCA”) does not preempt claims under BIPA. 2022 IL

126511, at ¶ 50. As a result, the stay was lifted.

          On June 14, 2022, following the lift of the stay, the Court issued a memorandum and

opinion denying Defendants’ Motion to Dismiss the Amended Complaint and directing the Parties

to proceed with discovery. Dkt. No. 38. Thereafter, the Parties exchanged written discovery and

information that facilitated this Settlement.

III.      Summary of Settlement Terms (Ex. 1, Settlement Agreement)1

          A.      The Proposed Settlement Class (Ex. 1, Settlement Agreement, ¶¶ 30, 45)

          The proposed Settlement Class includes a maximum total of 172 identified individuals who

worked for Defendants during the class period and who used handscan and/or fingerscan

timeclocks in conjunction with their employment. Defendants assert, and provided evidence to

demonstrate, that they made an effort to comply with BIPA. Plaintiff contends Defendants’ process

fell short, yet the evidence resulted in negotiation of a gross settlement amount of $840 per class

member. This is a slight reduction compared to amounts negotiated in other BIPA cases involving

a full failure to comply. The Parties’ compromise is reasonable keeping in mind the purpose of

BIPA is to deter non-compliance. See Cothron v. White Castle Sys., Inc., 2023 IL 128004, ¶ 42.

          The Class Representative seeks preliminary approval of a Settlement Class consisting of

the following:

          All individuals who, during the Class Period, used a hand or finger or biometric identifier
          or biometric information for timekeeping or payroll purposes at Defendants’ facilities
          within the state of Illinois and did not provide written consent in advance.




1
         Citations to the Settlement Agreement are in the headings of this Memorandum to avoid unnecessary
multiplication of in-text citations. Capitalized terms not defined herein shall have the meaning set forth in the Class
Action Settlement Agreement and Release (“Settlement” or “Settlement Agreement”), which is Exhibit 1.



                                                          3
    Case: 1:20-cv-06130 Document #: 52 Filed: 03/22/23 Page 5 of 17 PageID #:737




       B.      Settlement Fund; Allocation of the Fund; Payments to Class Members
               (Ex. 1, Settlement Agreement, ¶ 30)

       While denying all liability and wrongdoing, Defendants have agreed to pay a Gross

Settlement Fund of $154,480 ($840 per person based upon an estimated total Class Size of 172,

plus an additional $10,000 for Settlement administration costs) to resolve the claims in this case

on a class action basis. The Gross Settlement Fund is the maximum amount Defendants shall be

obligated to pay under the Settlement. The “Net Fund” is the Gross Settlement Fund minus the

following deductions, approved Class Counsel fees and litigation costs; the Settlement

Administrator’s costs; and the Class Representative’s Service Award. The Net Fund shall be

distributed pro rata to Class Members.

       After all deductions are made, Class Members are estimated to receive a check in the net

amount of $485. Unless they exclude themselves, all Class Members will automatically be sent a

settlement check. Because Class Members are not required to submit a claim to receive payment,

the process is streamlined to ensure that all Class Members are able to participate.

       C.      Uncashed Checks Will Be Distributed to a Cy Pres Recipient
               (Ex. 1, Settlement Agreement, ¶ 50)

       Under the terms of the Settlement, the entire Gross Settlement Amount will be distributed

and no portion of it shall revert to the Defendant. Class members will have 120 days to cash their

settlement payments. Funds from checks not cashed by the deadline will be distributed to Prairie

State Legal Services as a cy pres recipient.

       D.      Release of Claims (Ex. 1, Settlement Agreement, ¶¶ 38-40 & § VII)

       Class Members who do not exclude themselves will release the Releasees, as defined in

the Settlement Agreement, from all claims relating to Plaintiff’s or the Class Members’ biometric

information while employed at Defendants, including by way of example, any claims arising out




                                                 4
    Case: 1:20-cv-06130 Document #: 52 Filed: 03/22/23 Page 6 of 17 PageID #:738




of or relating to Defendants’ storage, collection, capture, purchase, sale, disclosure, or other

handling of biometric identifiers or biometric information. The named Plaintiff agreed to a broader

release.

       E.      Settlement Administration (Ex. 1, Settlement Agreement, ¶¶ 30, 42)

       The Parties have selected Analytics Consulting, LLC to act as the Settlement

Administrator. The Settlement Administrator’s costs are estimated at $8,776. The Settlement

allocates $10,000 for Settlement Administration, and any unused amounts will be distributed back

to the Settlement Fund.

       F.      Notice of Class Action Settlement (Ex. 1, Settlement Agreement, ¶ 61, Ex A)

       Among other things, the proposed Notice of Class Action Settlement (“Notice”) explains

the following to Settlement Class Members: (1) what the Settlement is about; (2) how the payment

is made, exclusion, or how to submit an objection; (3) how to obtain more information about the

Settlement; (4) the monetary terms of the Settlement and how individual payments will be

calculated; (5) the maximum amounts to be requested for attorney fees, costs, settlement

administration, and Service Award; and (6) the Final Approval Hearing details.

       G.      Distribution of Notice (Ex. 1, Settlement Agreement, ¶ 61)

       First, the Settlement Administrator will provide the Notice by direct mail. Before mailing,

the Settlement Administrator will update Settlement Class Members’ addresses by running their

names and addresses through the National Change of Address (“NCOS”) database. For Settlement

Class Members whose notices are returned as undeliverable without a forwarding address, the

Settlement Administrator shall promptly run an advanced search to locate an updated address.

Second, where email addresses are available for Settlement Class Members, the Settlement

Administrator shall send the Notice by email.




                                                5
      Case: 1:20-cv-06130 Document #: 52 Filed: 03/22/23 Page 7 of 17 PageID #:739




            H.      Service Award (Ex. 1, Settlement Agreement, ¶ 78)

            Under the Settlement Agreement, Class Counsel may request that the Court award the

Class Representative up to $7,500 as a Service Award for his work in prosecuting this lawsuit on

behalf of the Settlement Class, providing detailed information to support the allegations (including

for the amended complaint adding Pacific), providing his declaration in opposition to the Motion

to Dismiss, answering written discovery, recovering money for the Settlement Class, and for his

broad release of claims. Class Counsel will file the request for the Service Award with their motion

for attorney fees and costs, described below.

            I.      Attorneys’ Fees and Litigation Costs (Ex. 1, Settlement Agreement, ¶ 75)

            Under the Settlement Agreement, Class Counsel may request that the Court award them up

to 35% of the Gross Settlement Fund as attorney fees plus their litigation costs. Class Counsel will

file the request for attorneys’ fees and litigation costs in advance of the Fairness Hearing.

IV.         The Court Should Grant Preliminary Approval

            A.      Settlement of Class Action Litigation is Favored

            Federal courts favor and encourage settlements, particularly in class actions and other

complex matters, where the inherent costs, delays, and risks of continued litigation might

otherwise overwhelm any potential benefit the class could hope to obtain. Class Plaintiffs v. City

of Seattle, 955 F.2d 1268, 1276 (9th Cir. 1992); see also 2 Herbert B. Newberg & Alba

Conte, Newberg on Class Actions § 11.41 (3d ed. 1992) (collecting cases).

            The Manual for Complex Litigation describes a three-step procedure for approval of class

action settlements:

      (1)        Preliminary approval of the proposed settlement at an informal hearing;
      (2)        Dissemination of mailed and/or published notice of the settlement to all affected class
                 members; and


                                                      6
    Case: 1:20-cv-06130 Document #: 52 Filed: 03/22/23 Page 8 of 17 PageID #:740




   (3)        A “formal fairness hearing” or final settlement approval hearing, at which class members
              may be heard regarding the settlement, and at which evidence and argument concerning
              the fairness, adequacy, and reasonableness of the settlement may be presented.

Manual for Complex Lit., at § 21.632–34. This procedure safeguards the due process rights of

absent class members and enables the Court to fulfill its role as the guardian of class interests. See

2 Newberg & Conte, at § 11.22, et seq. With this Motion, Plaintiff requests that the Court take the

first step in the process by granting preliminary approval of the proposed Settlement.

         “Under the new Rule 23(e), in weighing a grant of preliminary approval, district courts

must determine whether ‘giving notice is justified by the parties’ showing that the court will

likely be able to: (i) approve the proposal under Rule 23(e)(2); and (ii) certify the class for

purposes of judgment on the proposal.” In re Payment Card Interchange Fee and Merchant

Discount Antitrust Litig., Case No. 05-md-1720, 2019 WL 359981, at *12 (E.D.N.Y. Jan. 28,

2019) (citing Fed. R. Civ. P. 23(e)(1)(B)(i–ii)) (emphasis in original). As shown below, the

Settlement satisfies these criteria and preliminary approval is justified.

         B.      The Court Will Likely Be Able to Approve the Settlement Under Rule 23(e)(2)

                 1.      The Class Representative and Class Counsel have Adequately
                         Represented the Proposed Settlement Class – Rule 23(e)(2)(A)

         Class Counsel and the Class Representative pursued this case vigorously on behalf of a

potential class. Throughout nearly two years of litigation, Class Counsel engaged in extensive

motion practice and written discovery. Through written discovery and further negotiated exchange

of information, Class Counsel obtained all of the relevant documents from Defendants for purposes

of evaluating and resolving these claims. As a result of Class Counsel’s and the Class

Representative’s sustained effort, the Parties reached a Settlement that makes meaningful

monetary relief available to Class Members, with an appropriately tailored release of claims.




                                                   7
      Case: 1:20-cv-06130 Document #: 52 Filed: 03/22/23 Page 9 of 17 PageID #:741




                  2.        The Settlement Was Negotiated at Arm’s Length – Rule 23(e)(2)(B)

          The Settlement was the result of arm’s-length negotiation between counsel experienced in

BIPA litigation.

                  3.        The Settlement Provides Adequate Relief to the Class – Rule
                            23(e)(2)(C)

          This Settlement here exceeds other approved BIPA class settlements:

    Case                      Judge        Date        Class Size       Per Class Member         Attorney Fees
    Kusinski v. ADP, LLC,     Atkins       Feb.    10, 320,000          $250 net (assuming       35% of total
    17-CH-12364 (Cir. Ct.                  2021                         a 20% claims rate)2      settlement
    Cook Cty.)
    Zhirovetskiy v. Zayo      Flynn        Apr.      8, 2,475           $450 gross               40% of total
    Group, LLC, 17-CH-                     2019                                                  settlement
    09323 (Cir. Ct. Cook
    Cty.)
    Marshall v. Life Time     Tailor       Aug.      7, 6,000           $270 net3                One-third of
    Fitness, Inc., 17-CH-                  2019                                                  total settlement
    14262 (Cir. Ct. Cook
    Cty.)
    Prelipceanu v. Jumio      Mullen       July 21, Thousands $262.28 net                        40% of total
    Corp., 18-CH-15883                     2020)                                                 settlement
    (Cir. Ct. Cook Cty.)

The Settlement also represents a meaningful recovery when compared against average recoveries

in class action settlements. See In re Ravisent Techs., Incagi. Sec. Litig., 2005 WL 906361, at *9

(E.D. Pa. Apr. 18, 2005) (approving settlement of 12.2% of damages, citing a study by Columbia

University Law School determining that “since 1995, class action settlements have typically

recovered between 5.5% and 6.2% of the class members’ estimated losses.”) (cites omitted).

          The Court should further evaluate the adequacy of relief based on the sub-factors below,

Fed. R. Civ. P. 23(e)(2)(C)(i)-(iv), each of which the Settlement satisfies.




2
        While plaintiffs estimated this claims rate in their filings, the Final Approval Motion stated the claims rate
was 12.5 percent.
3
        The settlement also included dark web monitoring that the parties valued at $130 per class member.


                                                          8
   Case: 1:20-cv-06130 Document #: 52 Filed: 03/22/23 Page 10 of 17 PageID #:742




                a. Costs, risks, and delay of trial and appeal

        If the litigation had continued, it would have been complex, expensive, and protracted.

Defendants had filed the Motion to Dismiss the Amended Complaint challenging Plaintiff’s

allegations that they did not comply with BIPA. The Motion to Dismiss was denied, as the Court

found the issues subject to additional discovery. See Dkt. No. 38, pps. 7-8. The disputed issues,

however, facilitated this Settlement as the Parties considered the risks of continued litigation.

        Appeals that were pending at the time of negotiations were also considered. Recently, on

February 2, 2023, the Illinois Supreme Court decided the Tims v. Black Horse Carriers, Inc. 2023

IL 127801 appeal and applied a limitations period of 5 years for every violation of BIPA. However,

the Parties agreed to settlement terms for a five-year class period prior to the decision by the Illinois

Supreme Court in Tims.

        Additionally, on February 17, 2023, the Illinois Supreme Court decided the appeal of

Cothron v. White Castle, No. 128004, which involves the question of accrual of a BIPA claim. The

Cothron decision found in favor of accrual at the time of each finger scan, not just the first. 2023

IL 128004, ¶ 1. The Illinois Supreme Court recognized that per scan liability allows for multiple

and repeated violations and “astronomical” damages awards and found that the statutory language

clearly supports recovery for “each violation.” Id.at ¶ 40

       The Cothron Court provided:

               This court has repeatedly recognized the potential for significant damages
       awards under the Act. Rosenbach, 2019 IL 123186, ¶¶ 36-37; McDonald, 2022 IL
       126511, ¶ 48. This court explained that the legislature intended to subject private
       entities who fail to follow the statute’s requirements to substantial potential liability.
       Rosenbach, 2019 IL 123186, ¶ 36. The purpose in doing so was to give private entities
       “the strongest possible incentive to conform to the law and prevent problems before
       they occur.” Id. ¶ 37.

The Court further noted, “We believe that the plain language of section 15(b) and 15(d)

demonstrates that such violations occur with every scan or transmission.” Id. ¶ 30 (emphasis


                                                   9
   Case: 1:20-cv-06130 Document #: 52 Filed: 03/22/23 Page 11 of 17 PageID #:743




added). However, the Cothron decision was an unknown when the Parties settled and is also the

subject of a motion for rehearing.

       The settlement negotiations took into account any potential uncertainty in the Tims and

Cothron appeals. Further, as shown by the extensive motion practice in this case, Defendants

identified and alleged facts supporting defenses to the class certification and the merits of the

claims. Given the potential risks, Plaintiff was open to settlement discussions. While Plaintiff was

confident in the claims, an adverse ruling as to the issues would greatly limit or even gut this case,

and there is a benefit to having a settlement now, rather than years from now.

               b. Effectiveness of the proposed method of distributing relief to Class
                  Members

       The Settlement Administrator will send Notice via direct mail and, where available, email.

Ex. 1, Settlement Agreement, ¶ 61. This is a comprehensive notice program that rivals those

implemented in similar settlements. Class Members do not have to take any affirmative steps in

order to receive a settlement payment. All Class Members will be mailed a check so long as they

do not elect to exclude themselves from the settlement. The Settlement Administrator will

distribute funds to Class Members via check to their last known mailing address.

               c. The terms of the proposed attorney fee award, including timing of payment

       Settlement Class Counsel will seek an award of attorney fees of up to 35% of the Gross

Settlement Fund plus litigation costs. Ex. 1, Settlement Agreement ¶ 75. The requested fee is equal

to or below the fees awarded in similar BIPA class settlements. See BIPA Settlement Chart. And

the Settlement provides for payment of any attorney fees awarded at the same time as payments to

Settlement Class Members; there is no priority for Settlement Class Counsel. Ex. 1, Settlement

Agreement ¶ 77.




                                                 10
   Case: 1:20-cv-06130 Document #: 52 Filed: 03/22/23 Page 12 of 17 PageID #:744




               d. Any Agreement required to be identified under Rule 23(e)(3)

       The Settlement Agreement is Exhibit 1 to this Motion. There are no side agreements

regarding the Settlement Class or attorney fees related to this Settlement.

               4.      The Settlement Treats Settlement Class Members Equitably Relative
                       to Each Other – Rule 23(e)(2)(D)

       The Settlement treats Class Members equally by distributing awards from the Net

Settlement Fund on a pro rata basis. Ex. 1, Settlement Agreement, ¶ 50. All employees who fall

under the class definition will be sent a check to their last known address for their pro rata share

of the net amount.

       C.      The Court Will Likely Be Able to Certify the Settlement Class for Purposes of
               Judgment on the Settlement – Rule 23(e)(1)(B)(ii)

               1.      Certification Will Be Appropriate Under Rule 23(a)

       To obtain class certification, Plaintiff must demonstrate that his claims meet the four

requirements of Rule 23(a) and at least one of the requirements of Rule 23(b). As shown below,

all of the elements of Rule 23(a) and (b)(3) are met here.

                       a.      Numerosity

       Courts consistently hold that if there are more than 40 class members, numerosity is

satisfied. See, e.g., Gaspar v. Linvatec Corp., 167 F.R.D. 51, 56 (N.D. Ill. 1996). The estimated

class size here is 172, Ex. 1, Settlement Agreement, ¶ 30, which satisfies numerosity.

                       b.      Commonality

       For a class to be certified, questions of law or fact must exist common to the class. Fed. R.

Civ. P. 23(a)(2). Those common issues must be susceptible to common answers. In Wal-Mart

Stores, Inc. v. Dukes, the Supreme Court summarized the Rule 23(a)(2) requirement as follows:

       What matters to class certification . . . is not the raising of common ‘questions’ — even
       in droves — but, rather the capacity of a classwide proceeding to generate common



                                                  11
   Case: 1:20-cv-06130 Document #: 52 Filed: 03/22/23 Page 13 of 17 PageID #:745




       answers apt to drive the resolution of the litigation. Dissimilarities within the proposed
       class are what have the potential to impede the generation of common answers.

564 U.S. 338, 350 (2011). The claims of Class Members can be resolved in a “single stroke” by

answering the following common question: did Defendants collect, possess, or disclose the

biometric data without following BIPA’s notice and consent requirements? Answering this

common question resolves liability for all Class Members. Thus, commonality will be met here.

                       c.      Typicality

       A claim is typical if it “arises from the same event or practice or course of conduct that

gives rise to the claims of other class members and ... [the] claims are based on the same legal

theory.” Oshana v. Coca-Cola Co., 472 F.3d 506, 514 (7th Cir. 2006) (citation omitted). The

requirement is meant to ensure that the named representative’s claims “have the same essential

characteristics as the claims of the class at large.” Id. (quotations and citation omitted)).

       The claims of the Settlement Class Representative and Settlement Class Members arise

from the same conduct: Defendants’ alleged use of a biometric timekeeping system for its Illinois

employees. Typicality will be met.

                       d.      Adequacy of the Class Representative

       The adequacy of representation component has three elements: (1) the claims of the class

representative cannot conflict with the claims of the other class members; (2) the class

representative’s interest in the litigation outcome must be sufficiently strong to ensure that he is a

vigorous advocate for the class; and, (3) counsel for the class representative must be competent,

experienced, and able to conduct the litigation with that necessary vigor. Gammon v. G.C. Servs.,

L.P., 162 F.R.D. 313, 317 (N.D. Ill. 1995). “The burden of demonstrating adequacy under this

standard, nevertheless, is not a heavy one.” Nielsen v. Greenwood, No. 91 C 6537, 1996 WL

563539, at *5 (N.D. Ill. Oct. 1, 1996).



                                                  12
   Case: 1:20-cv-06130 Document #: 52 Filed: 03/22/23 Page 14 of 17 PageID #:746




                             i.       The Class Representative has an interest in the litigation
                                      and has no conflict with Class Members

       The Class Representative alleges the same claims as Class Members and has no interests

antagonistic to them. Thus, the Class Representative has “a clear stake in a successful outcome –

[] damages for [herself] and the class – that raises no specter of antagonistic interests.” Pierre v.

Midland Credit Mgmt., Inc., 2017 WL 1427070, at *8-9 (N.D. Ill. Apr. 21, 2017). Plaintiff has

taken an active role in pursuing this claim for nearly three years. He has exhibited competence by

answering written discovery and regularly providing information to his attorneys, including a

declaration in opposition to Defendant’s Motion to Dismiss. Plaintiff assisted in any way that he

was asked, engaging in many interviews and reviews of information with his attorneys.

                               ii.    Class Counsel is experienced and qualified

       Settlement Class Counsel will also fairly and adequately protect the interests of the Class

Members. A court considers the following four factors when appointing class counsel: (1) the work

counsel has performed in identifying the potential class claims; (2) class counsel’s experience in

handling complex litigation and class actions; (3) counsel’s knowledge of the applicable law; and

(4) the resources that class counsel will commit to representing the class. Fed. R. Civ. P. 23(g).

       Class Counsel are experienced class action attorneys and have been appointed class counsel

in numerous actions in federal and state courts, including other BIPA class actions. Ex. 2, Baltabols

Declaration. In this case, Class Counsel demonstrated commitment to the Class by completing

complex briefing and analysis along with written discovery.

               2.      Certification Will Be Appropriate Under Rule 23(b)

       Class certification is appropriate under Rule 23(b)(3) if “questions of law or fact common

to the members of the class predominate over any questions affecting only individual members,




                                                 13
   Case: 1:20-cv-06130 Document #: 52 Filed: 03/22/23 Page 15 of 17 PageID #:747




and . . . a class action is superior to other available methods for the fair and efficient adjudication

of the controversy.” Fed. R. Civ. P. 23(b)(3). These prerequisites are satisfied.

                       a.      Common questions predominate

       The Rule 23(b) predominance requirement looks to whether the proposed class is

sufficiently cohesive to warrant adjudication by representation. Amchem Prods. v. Windsor, 521

U.S. 591, 623 (1997). “Thus, the Plaintiff bears the burden of demonstrating ‘that the elements of

liability are capable of proof at trial through evidence that is common to the class rather than

individual to the members.’” Kernats, et al. v. Comcast Corp., Case Nos. 09 C 3368 and 09 C

4305, 2010 WL 4193219, at *7 (N.D. Ill. Oct. 20, 2010). Satisfaction of this criterion normally

turns on the answer to one basic question: is there an essential common factual link between all

class members and the Defendants for which the law provides a remedy? The common question

predominating in this case is whether Defendants collected, possessed, stored, and/or used

Settlement Class Members’ biometric data without following the requirements of BIPA. The

answer to this question determines Defendants’ liability under BIPA for all potential persons in

the Settlement Class and therefore predominates over any individual questions.

                         b.       A class action is a superior mechanism

       The superiority inquiry requires a court to compare alternatives to class treatment and

determine if any alternative is superior. “Where classwide litigation of common issues will reduce

litigation costs and promote greater efficiency, a class action may be superior to other methods of

litigation.” General Tel. Co. of Sw. v. Falcon, 457 U.S. 147, 155 (1982). This is particularly true

in actions like this one, where numerous individual claimants each suffer a relatively small harm.

“Rule 23(b)(3) was designed for situations . . .in which the potential recovery is too slight to

support individual suits, but injury is substantial in the aggregate.” Murray v. GMAC Mortg. Corp.,




                                                  14
     Case: 1:20-cv-06130 Document #: 52 Filed: 03/22/23 Page 16 of 17 PageID #:748




434 F.3d 948, 953 (7th Cir. 2006). Here, the alternative to class resolution is a myriad of individual

lawsuits for recoveries possibly less than $1,000, plus attorneys’ fees and costs.

        D.      Plaintiff’s Notice Program and Class Notice Form Merit Approval
                (Ex. 1, Settlement Agreement, ¶ 61 and Exhibit A)

        The proposed Notice complies with due process and the Federal Rule of Civil

Procedure 23. Pursuant to Rule 23(c)(2)(B), notice must provide:

        the best notice practicable under the circumstances, including individual notice to all members
        who can be identified through reasonable effort. The notice must clearly and concisely state in
        plain, easily understood language: (i) the nature of the action; (ii) the definition of the class
        certified; (iii) the class claims, issues, or defenses; (iv) that a class member may enter an
        appearance through an attorney if the member so desires; (v) that the court will exclude from
        the class any member who requests exclusion; (vi) the time and manner for requesting exclusion;
        and (vii) the binding effect of a class judgment on members under Rule 23(c)(3).Fed. R. Civ.
        P. 23(c)(2)(B).

        The plan for the Settlement Administrator to distribute Notices directly to Settlement Class

Members by U.S. mail and, when possible, via email, is reasonable.

V.      Conclusion

        Because the Settlement is fair and provides significant monetary relief to the Settlement

Class, the Court should grant preliminary approval and enter the proposed Preliminary Approval

Order, which will be submitted to the Court via its proposed order email address.

                                                        Respectfully submitted,
Dated: March 22, 2023
                                                        /s/ Mara Baltabols
                                                        One of Plaintiff’s Attorneys

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   Case: 1:20-cv-06130 Document #: 52 Filed: 03/22/23 Page 17 of 17 PageID #:749




                               CERTIFICATE OF SERVICE
       The undersigned attorney hereby certifies that a true and correct copy of the foregoing was

filed with the Court’s CM/ECF filing system on March 22, 2023, which will serve a copy on all

counsel of record.


                                                    /s/     Mara Baltabols




                                               16
